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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

VS.                                NO. 4:13CR00090-05-KGB

ANTONIO CREDIT                                                               DEFENDANT

                                          ORDER

       Defendant Antonio Credit is currently incarcerated in the Arkansas Department of

Correction. Because of his pending federal criminal charges, the U.S. Marshal filed a

detainer to assume custody of Mr. Credit when he is released by the Arkansas Department

of Correction (“ADC”). (Docket entry #99)

       Mr. Credit has moved for release from the detainer and an order setting conditions

for pretrial release so that he would be eligible to be considered for a work-release

program offered by the ADC. (#148)

       After a hearing held this date, the Court declines to set conditions of release. In

coming to this decision, the Court has considered Mr. Credit’s criminal history spanning

more than twenty years and the serious federal charges he is currently facing.

       Accordingly, Mr. Credit’s motion for bond conditions (#148) is DENIED, this

12th day of September, 2013.



                                           UNITED STATES MAGISTRATE JUDGE
